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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                         )                    Chapter 11
In re:                                   )
                                         )                    Case No. 09-10138 (KG)
                              1
Nortel Networks Inc., et al.,            )
                                         )                    (Jointly Administered)
                                Debtors. )
                                         )                    Re: Docket No. 16345
______________________________________ )

      CERTIFICATION OF NO OBJECTION REGARDING TWENTIETH
MONTHLY APPLICATION OF CASSELS BROCK & BLACKWELL LLP, CANADIAN
  COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
     FOR INTERIM ALLOWANCE OF COMPENSATION AND FOR THE
       REIMBURSEMENT OF EXPENSES FOR SERVICES RENDERED
 DURING THE PERIOD FROM OCTOBER 1, 2015 THROUGH OCTOBER 31, 2015
             [DOCKET NO. 16345] (NO ORDER REQUIRED)

                 The undersigned hereby certifies that she has received no answer, objection or

any other responsive pleading with respect to the Twentieth Monthly Fee Application for

Compensation and Reimbursement of Expenses (the “Application”) of Cassels Brock &

Blackwell LLP (the “Applicant”) listed on Exhibit A attached hereto. The undersigned further

certifies that she has reviewed the Court’s docket in this case and no answer, objection or other

responsive pleading to the Application appears thereon.2 The Application was filed with the

Court on the date listed on Exhibit A.

                 Pursuant to the Administrative Order Establishing Procedures for Interim

Compensation and Reimbursement of Fees and Expenses for Professionals and Official

         1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ tax identification
number, are: Nortel Networks Inc. (6332); Nortel Networks Capital Corporation (9620); Nortel Altsystems Inc.
(9769); Nortel Altsystems International Inc. (5596); Xros, Inc. (4181); Sonoma Systems (2073); Qtera Corporation
(0251); Coretek, Inc. (5722); Nortel Networks Applications Management Solutions, Inc. (2846); Nortel Networks
Optical Components, Inc. (3545); Nortel Networks HPOCS Inc. (3546); Architel Systems (U.S.) Corporation
(3826); Nortel Networks International Inc. (0358); Northern Telecom International Inc. (6286); Nortel Networks
Cable Solutions Inc. (0567); and Nortel Networks (CALA) Inc. (4226).
         2
             Pursuant to the Interim Compensation Order (as that term is defined herein), parties have twenty (20)
days after the date of service to object to the Application.
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Committee Members entered February 4, 2009 [Docket No. 222] (the “Interim Compensation

Order”), the Debtors are authorized to pay the Applicant eighty percent (80%) of the fees and

one hundred percent (100%) of the expenses requested in the Application upon the filing of this

Certification of No Objection and without the need for entry of a Court order approving the

Application.

Dated: January 4, 2016
       Wilmington, Delaware
                                           /s/ Katherine Good
                                           Christopher M. Samis (No. 4909)
                                           L. Katherine Good (No. 5101)
                                           WHITEFORD, TAYLOR & PRESTON LLC
                                           The Renaissance Centre
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                                           -and-

                                           Fred S. Hodara, Esq.
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                                           New York, New York 10036
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                                           Co-Counsel to the Official Committee of Unsecured
                                           Creditors of Nortel Networks Inc., et al.




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